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                              U N ITED ST ATE S D ISTR IC T CO UR T
                              SO UT H ERN D ISTR IC T O F FLO R ID A
                                             21-61644-CV-SINGHAL/VALLE
                            C A SE N O .:


  SEC UR IT IES AN D EX C H A NG E CO M M ISSIO N ,

                                       Plaintiff,



  M J CAPITAL FUNDING LLC,
  M J TA X ES A ND M O RE IN C .,and
  JO H A N NA M .G A R CIA ,

                                       Defendants.


             PLA INTIFF SE CU R ITIES A N D EX C H A NG E CO M M ISSIO N 'S
  EM ER G EN CY EX PAR TE M O T IO N FO R T EM PO R ARY R ESTM IN IN G O R DER A ND
            O TH ER R ELIEF A ND SU PPO R TIN G M EM O R AN DU M O F LAW

         IN TR O D UC TIO N

         PlaintiffSecuritiesand ExchangeCommission (thew%commission-'ort-SEC--)movesthis
  Courtfora Tem porary Restraining O rder,A ssetFreeze,and OtherEm ergency R elief pursuantto

  Rule65oftheFederalRulesofCivilProcedure(/tTRO Motion'')and LocalRule7.1to prevent
  DefendantsM JCapitalFunding,LLC ('tM JCapital-') M JTaxesand More,lnc.(''MJTaxes,''
  togetherwithM JCapital,the-tM JCompanies--),and JohannaM .Garcia(t-Garcia'-)(collectively,
  t'Defendants'')from continuingto defraudinvestorsin connection withtheirfraudulentofferand
  saleofsecurities,and to preventthem from furtherm isuse and m isappropliation ofinvestorfunds.

         The Com m ission requests the follow ing relief'
                                                        .

         a Tem porary Restraining O rder;

         an OrdertoShow CauseW hyaPreliminarylnjunctionShouldNotbeGranted;
         an OrderFreezing the assetsofD efendants M J C apital,M JTaxes,and G arcia'
                                                                                   ,and
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        4. an Order Requiling Sw onn A ceountings, Docum ent Preservation and Expedited

           Depositions.

          A proposed orderencom passing alloftherequested reliefis attached. (In aseparatemotion

  tiled contem poraneously herew ith, the Com m ission also seeksthe appointm entofa receiverover

  theM JCompanies.)
  Il.     O V ER V IEW O F TH E FR A UD A N D N EED FO R EM ER G EN CY R ELIEF

          From at least June 2020 and eontinuing through the present, M J Capital, its aftiliated

 com pany M J Taxes,and their founder,chief exeeutive ofticer, and presidentG arcia,have raised

 between $70.9m illion and $128.6m illion from morethan 2,150 investorsacrosstheUnited States

 thl-ough an unregistered fraudulentsecurities offering. D efendants solicit and raise m oney from

 investorsthrough severalm eans,ind uding the w ebsitesand socialm edia accountsforM JC apital

 and M J Taxes,their em ployees,externalsales agents, and w ord-of-m outh.

          D efendantsrepresentto investorsand prospectiveinvestorsthatinvestorfundswillbeused

 to provide m erchant cash advances (':M CAs'') to sm all and m edium -sized businesses. ln
 exchange,D efendants prom ise investors they w illreceive m onthly retul'ns ofvarying am ounts,

 typically l0% perm onth,along w ith the return oftheirprineipal.

          Contrary to D efendants'representations,ourbank analysis from June 1, 2020 through June

 30,2021revealsthatonly a sm allportion ofinvestorproeeedsw asused to m ake M CA S. lnstead,

 Defendantsusedthemajority ofinvestorfundstomakeinterestand principalpaymentsto other
 investors in classie Ponzi fashion. Additionally, D efendants diverted investor funds to pay

 com m issionsto sales agentsprom oting investm entin theM J Com panies and to repay loansow ed

 by M JTaxes. Garcia also misappropriated investorassetsthrough cash withdrawals.
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         Through theirongoing conduct,D efendantshave violated and are continuing to violate the

 registration and anti-fraud provisions ofthe federalsecurities law s. Based on the ongoing nature

 of theirviolations and scienter,D efendantshave dem onstrated through their w illfuland wanton

 disregard for the federal securities law s that they w ill continue to defraud investors unless the

 CourtgrantstheinjunctiveandotheremergencyrelieftheCommissionseeks.
         lm lmediate relief is needed because D efendants' fraudulent solicitations continue today.

 lndeed,the M J Companiesraised between $19.8 m illion and $61.6 m illion between M ay 1 and

 June 30,2021,and their respective websites and socialm edia accounts rem ain accessible to the

 public.

         W e also seek to freezeD efendants'assets. D cfendantscontrola num berofbank accounts

 thatreceived and m ay stillcontain proceedsofthe fraudulentschem e. W e are seeking a freeze on

  those accounts to prevent D efendants from dissipating fraudulently-obtained funds, and to

  preservefundstosatisfyapotentialjudgment.
  111.   FA C TS

                D efendants

         M J C apital is a Florida lim ited liability com pany located in Pom pano Beach,Florida.l

  G arcia fonred M J Capitalin June 2020 and is its M anager,an A uthorized M em ber,and President.z

  M J Capital purpol'
                    ts to be in the business of providing m erchant cash advances to businesses

  located in Florida and throughoutthe United States.3 M JC apitalclaim sto f'und m illionsofdollars

  in m erchantcapitalloans to sm allbusiness owners in exchange for a percentage ofthe business'




  1Ex. 1,M J C apitalFlorida corporate tiling atp.2.
  2 1d. atpp.3,7.,Ex.2,MJ CapitalFunding,LLC )?.Doe,No.0:21-cv-60841-AHS (S.D.Fla.)
  GarciaDeclaration,DE 22-2at!52-3.
  31d at!p.
     .
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 incom e overa specitied period oftim e,with the am ountofsuch funding having steadily increased

 every m onth since its inception in 2020.4 The totalam ountto be repaid is supposedly calculated

 by a factorrate,a m ultipliergenerally based on a business'financialstatus.s

         M J Taxes is a Florida corporation located in the sam e oftice as M J Capitalin Pom pano

 Beach.6 Garcia incorporated M J Taxesin Decem ber 2016 asM JTax Sen ices& M ore lnc.and is

 its President.7 In M arch 2020,G arcia changed the com pany'snam e to M J Taxes and M ore lnc.s

         G arcia isa residentofNorth Lauderdale,Flolida.g G arcia controlsthe M JCom panies.10

         B.        Jurisdiction and V enue

         ThisCourthaspersonaljurisdictionoverDefendants,andvenueisproperintheSouthenA
 D istrictofFlorida. M J Capitaland M J Taxes m aintain an oftice in Pom pano Beach,Florida,and

 G arcia resides in North Lauderdale,Florida.l1 A s ofJune 30,2021,D efendants raised between

 $709 m illion and $128.8m illion from investors,includingthoseresiding in thisdistrict.lz
     .




         C.        D efendants'FraudulentSchem e

                   1.    The Securities O ffering: The M J C om panies Raise Tens of M illions
                         From Investors Falsely R epresenting thatthe M onies W ould be U sed
                         4j)Fund M CA S

         SinceatleastJune 2020,M JTaxessolicited investlnents,typicallyprom ising l0% m onthly

 returns(anannualrateof120%)forsix-month investments.13


 4Id at!!3,32.
 51d at!3.
     .

 6Ex. 3,M JTaxes Florida corporate filing atpp.2,13.
 7Id atpp. 2-3.
 8Id atp. 9.
 9Id atp. 13.
 10see supra n. 172,6.
 '1See supra n. 1,6,9.
 12 Ex. 4,DeclarationofJuliaD-Antonio(-  bD'AntonioDecl.-')at!!12(a),51(a).
  13Id*at!12(a),'Ex.5) June2020tûtzoan Agreement.''
               .
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          ln w ritten agreem ents w ith investors executed between June 2020 and Septem ber 2020,

  signed by Garcia on behalfofM JTaxes, the investor is referred to as û'lnvestor''or ''Lender''and

  M J Taxesisreferred to asthe kûFacilitator''or tùBorrow er.''l'l

         On July 29,2020,M J Capitalregistered the dom ain nam ewww .micapitalfunds.com (the

  Atw ebsite'')15
         Beginning in or around October2020, M J Capitalbecam e the prim ary vehicle forraising

  funds from investors.l6

         M J Capitalentered into w ritten am eem ents with investors. l7 The agreem entsreferto the

 investorasthe tvpurchaser,'' and M J Capitalagrees thatitw illusethe investor'sm oney to fund an

 M CA .18 M J capitalprom ises an annualreturn of varying am ounts typically 120% , with M J
                                                                  ,


 c apitalguaranteeingrepaym entofprincipalifthe m erchantdefaults.lg The term oftheinvestm ent

 iseither6 m onths,9 m onths, 12 m onthszoor6 m onthswith an option by theinvestorto extend the

 tenn for an additional6 m onths.zl

         ln addition to the w ritten agreem ent, M J Capital requires investors to sign: a N on-

 D isclosure A greem ent, w here the investor w ould agree notto disclose contidentialinfonration

 aboutM J Capital;a PurchaserN on-com pete A greem ent, where the investor would agree notto

 engage in any businessthatw ould colupete with M J Capitalfortw o years;an 1RS W 9 fonu;and
                                                                                     -




  14EX . 5.
          , Ex. 6rJuly 2020 û
                            tl-oan A greem enf-'Ex.7,Septem ber2020 -ttzoan A greem ent--
                                                                                       .
 l5y,                                          ,
      X.g,atj5.
 16 Ex. 8 October 2020 sam ple û'M erchant Cash Advanced A greem ent''' Ex
            ,                                                              5 . 9r  jA pril 2021
 ûtM erchantCash Advance A greem ent''5'Ex. 10,June 2021 t'M erchantC ash A dvanceA greem ent.''
 l7EX. j), j().
 18ld
 19gd atjjg
20 EX.11,New Contrad lntake Fonu;Ex. 9,l0.
21EX.9,1Oat!6.
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 a R efenulProgram Agreem ent,which allow s an investor to receive a one-tim e refen-albonus of

 an unspecified am ountforeach refen'ed person who investswith M JCapita1.22

          The W ebsite m akes various representations thatM J Capitalis in the business of funding

 M CA Sand thatinvestorm oney w ould beused forthispum ose.23

          The W ebsite provides backm ound infonmation on how M J Capital can assist sm all

 businesses w ith m erchantcash advances and further invitesbusiness ow ners to tilloutan online

 application for funding.24

          A tleastas early as Novem ber 26,2020,the W ebsite's hom epage w as entitled tûcustom

  MerchantCashAdvancePrograms''and statedthatM JCapitalofferst'Quick Approvals,-'ilFast
 Fundinp ''and ûtFlexible Term s.''25

          A tleast as early as Decem ber 5,2020,the W ebsite stated that M J Capitalcould provide

  ttan altenaative option to satisfy a business-s financialneeds,''thatno collateralwasrequired,and

 thatfunding could occur within 72 hours.26

          A tleastas early asJanuary 26,2021,the W ebsite stated thatM JC apitalhad a -ûpipeline of

  investors,'' from whom the business could expect tûcash of up to $200,000 to 91511
  needs . . . .,,27

          Since atleastas early as M arch 6,2021,the W ebsite has included a link to a one m inute,

  twentysecondvideo(alsoavailableonM JCapital-slnstagram IGTV page)entitled-'TheStoryof


  22Com posite Ex. 12,N on-D isclosure A greem ent,PurchaserN on-com pete Agreelnent,lR S W -9
  fonn,Refen-alProgram Agreement;Ex.13,Declaration ofRaylnond Andjich (--Andjich Dec1.'-)
  at514.
  23Ex. 14,M ay 12,2021 M J Capitalw ebsite capture and attestation.
  24gd
  25Ex. 15,N ovem ber26,2020 M J C apitalarchived w ebsite capture atp.1 and attestation.
  26Ex. 16,Decem ber 5,2020 M J Capitalarchived w ebsite capture atp.1 and attestation.
  27Ex. 17,January 26,2021 M J Capitalarchived w ebsite capture atp.1 and attestation.
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  PFR .-'28 A ccording to the video, a PFR (t-purchasing Future Receivables--) is -ûa purchase

  agreem entthatproducespositivereturnson the futurerevenuesofsm alland m idsizebusinesses..:29

  Thevideonarrationdescribesaninvestor,t-lohn''(described inthevideoasat-purchaser'')ûtwho
  w aslooking foran opportunity to create w ealth.-'3o The video statesthatJohn :tlooked atthe stock

  m arket,realestate,and m utualfundsand realized they w ere notthe righttitforhim .'-31 The video

  then describes k:pablo,'' a plum bing contractor w ho w as aw arded a large contract but needed

  upfkontcapitalto fu tillitbutcould notgeta bank loan.32 The video then show sJohn and Pablo

  com ing together,w ith John providing fundsto Pablo and receiving m onthly profits and the return

  Of p1incipa1.33 The video then states'
                                       . t'John's happy, Pablo's happy,you're happy- because

  you're going to startpurchasing PFR'Stoday.''34 Thevideo concludesw ith the logo forM JCapital

  and the narration'. ::M J Capital'
                                   . Purchase Future Receivables;StartCreating W ea1th Today.'-35

  The video continuesto appearon the w ebsite36and on Instagram 3?asofA ugust4, 2021.

         Atleastas early asM ay l2,2021,the W ebsite'sûtblog''section statesthatGarcia isûboften

  referred to as ûM other Theresa'''in her com m unity,that she found a w ay to help hardw orking

  individualsm ake m oney,and thatshe helpsherm erchantclients getthe financing they need.38 lt

  alsostates:''LMJCapitalqhasgrowntoanextentwherethereisateam ofunderwriterswhoqualify




  28Ex. 18,M arch 6,2021M J Capitalarchived w ebsite capture atp.1 and attestation.
  29Ex. 19 Transcriptofvideo on M J Capital-s website.
   a:gd.
   azId.
  :$2/J.
  3agd.
  34gd
  35Id
  36Ex. 20,A ugust4,202l M J Capitalw ebsite capture and attestation.
  37Ex 21 A ujp st4, 2021 M J Capitallnstagram capture and attestation.
  38Ex 14 atpp. 14-15.
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  every com pany thatseeks funds from M J Capital. There are no exceptions to this! The process

  consists of checking 6 months'wol'th of bank statements,lastyear's tax retunas,and gthe
  merchant'sjprofitandlosssheetforthelastyear.''39
             A dditionally,atleastasearly asM ay 12,2021,M J Capitalhasrepresented through soeial

  m edia thatitis in the business of funding M CA S and offers tûquick approvals,-'ltfast fundingr''

  k-tlexibletenrs''andûthelprsjsmallbusinesses''.4o 1tsTwitterpagetouts:ûLM JCapitalspecializes
  in M CA funding forbusinesses,ourgoalis to help you and yourbusiness thrive during uncertain

  tim esby workingw ith ourteam .-'4l In addition to theW ebsiteand socialm edia,M JCapitalsolicits

  investorsthrough itsown employees,4zexternalsalesagents(who have been paid atleast$27.4
  million to date),43and word-of-mouth.44 W hateverthe form ofsolicitation,themessageisthe
  sam e: M J C apital will use the investor's m oney to fund M CA S and the investor will receive

  periodic paym entsathigh rates ofretuna.45

             M J Capital'ssolicitation and receiptofinvestor funds isongoing.46

             ln or around June 2021,an undercover FederalBureau of lnvestigation agent (t'UC'')
  posing as a prospective investorvisited M J Capital's office in Pom pano Beach.47 The U C spoke

  with M JCapital'sofficem anager,w ho explained M JCapitalw ould usethe UC 'sfundsto purchase

  future sales orprofits of com panies and,in retum ,the U C w ould m ake a l0% m onthly retu1m.48




  39ld atp. 15.
  40Ex. 22 M ay 12,2021 M J Capitallnstagram capture and attestation.
  41Ex. 23,M ay 12,2021 M J CapitalTw ittercapture and attestation.
  42Ex. 13 AndjichDecl.at!515-16.
  43Ex. 45D'AntonioDecl.at15(9.
  44Ex.13,AndjichDecl.at!515-16.
  45seesupra n 16,23,25-28,38,40-41;Ex.l3,AndjichDecl.at1515-16.
                   .

  46 Ex 4,D'AntonioDec.at!J1(a);Ex.13,AndjichDecl.at5!15-16.
         .


  17Ex.13,AndjichDecl.at!15.
  48gd
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  The office m anagerexplained thatan undem riting team detenmines a m erchant's ability to repay

  by requiring two yearsoftax returnsand thatM JCapitalhaslienson amerchant'sprojectsas
  furthersecurity.4g The oftice m anagerfurtherstated thatM J Capital'srepresentativesare paid by

  com m issionaso

          ln or around June 2021,the U C returned to M J Capital's oftice,m eeting this tim e w ith a

  differentM J Capitalrepresentative.sl The UC agreed to and eventually did m ake a $10,000
  ilw estm ent for a tw elve-m onth tenzl        10% m onthly interest rate.52 The U C and the

  representative signed a M erchantCash A dvance A greem ent,which G arcia notarized.53

          ln July 2021,M J Capitalm ade its tirstinterestpaym entto the 17C .54
                                                                         -




          Between M ay 1andJune30,2021,theM JCom panieshaveraised atbetween $19.8million

  and 61.6 m illion from investors.ss

                        The Realil : The M J Com paniesM ake Very Few M CAS,Have Little
                        R evenue and Fund lnvcstor R eturns Prim arily W ith M onies R aised
                        from N ew Investors, and Defendants M isused and M isappropriated
                        Investor Funds

          The rem esentations thatthe M J Com paniesw ere using investorm oney to fund M CA S and

 thattheirm oney was secure w ere 1ies.56 ln fact, the M J Com paniesm ade very few M CA s,57they

 did notfile liensin connection with thefew M CA Sthey did m ake,58and investors'ability to receive

 the prom ised returns and repaym entofprincipalw asdependenton Defendants'ability to continue



 49Id
 5()gg
 511d. at!)
          16.
 52l'd
 531d. at!!16,l8.
 54ld at!18.
 551d at!51(a).
      .

 561d. atEx.A ,B.
 571d. at515(g),(h).
 58Ex. 13,AndjichDecl.at:19.

                                                  9
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  to raise new investor m oney and convince existing ilw estors to extend the tenu of their

  agreem ents.sg

          Forthe period June 1,2020 through A pril30,2021,the M J Com panies received betw een

  $51.l million6o and $67.2 million in investorfunds from investors in Florida and severalother
  States.61 However, the M J Companies m ade at most $2.9 million in M CAS,consisting of

  approxim ately $588,56162where there issom e aftinuative indication thatthe paym entfrom the

  M J Companiesto a businesswasto fund an M CA,and another$2.3 million63where based on

  currently available infonuation,the m aking ofan M CA cannotbe ruled out.

          M oreover,from June l,2020 through April30,2021,the M JCom paniesm isused investor

  f'undsby making paym entstotaling approxim ately $27.4 m illion to variousentities,asubstantial

  portion of which represent paym ents to sales agents for prom oting the investm ents in the M J

  com panies.b4 TheM JCom paniesalso m isused investorfundsby m aking paym entson loansow ed

  by M JTaxesvia transfersto M J Taxes'bank account.t
                                                    's

          Garcia m isappropriated investorfundsthrough cash w ithdraw als.66

          Because the M J Com panies m ade few M CA S and w ere diverting substantial investor

  m oney,theM JCom paniesw erenotearning anp vhereneartherevenue needed to pay theprom ised

  returns to investors.67




  59 Ex*47D 'A ntonio Decl. atEx.A ,B.
  60Id at!12(a),51(a).
  61Id at!12(a),12(b),51(a).
  62gd at!15(g).
  631d at!15(h).
      .


  641d.at!15(9.
  651d.at!15(c).
  66ld at!!15(i).
      .

  67Id*atEx. A 7B.

                                                 10
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         From June 1,2020 through Aplil30,2021,the M J Com panies have paid atleast$20

  m illion in pum ortedretunzsto investorsand possibly another$9.3m i11ion.68 However,instead of

  paying investors outofthe revenue ofthe business,the M J Com panies have used laew investor

  m oney to pay returnsto existing investors.69

         The investm ents in the M J Colupanies were not secure.7t) To the contrary,the only w ay

  the M J Com panies could honortheirobligationsto investors would be by successfulcontinuation

  oftheirfraudulentschem e.'
                           /l Oncethe supply ofnew investorsw asexhausted,the M JCom panies

  WOuld be unable to pay the prom ised returns to existing investors.7z

                 3.       The Cover-up: M J C apital M akes False Statem ents in R esponse to
                          A llegationsthatitis a PonziSchem e

         On or about April 10,202 1,an individualregistered a dom ain nam e very sim ilar to the

  W ebsite and published contentalleging thatM J Capitalw as operating a Ponzischel%e.73 Am ong

  otherthings,the new w ebsite questionshow M J Capitalcan pay such high rates ofreturn and how

  itm akesits m oney.74

         These allegations w ere problem atic for M J Capital, and it responded by posting on the

  W ebsite 1ta Response to False Claim s by U nknown Individual.'-7s A m ong other things, in the

  response,M J Capital states thatit kûspecializes in M CA 's''w ithout disclosing that itm akes very

  few M CASand thatthevastmajorityofitsbusinessconsistsofraisingmoney from investors.7t'



  68Id at115(a).
  69ld*atEx. A )B .
  7()gcj
  7lId
  72Id
  73Ex. 14,M ay 12,2021 M J Capitalw ebsite atp.9.
  74Id atpp. 9-10.
  75/J atp. 9.
  76Id atp. 11
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         M J Capitalalso responded to the allegations by suing the individualw ho had created the

  website(and wasapparently demanding money from MJCapitall.7? According to aComplaint
  M J Capitalfiled on Aplil19,2021in the United States D istrictCourtforthe Southern Districtof

  Florida (MJ CapitalFunding,LLC l7.Doe,No.0:21-cv-60841-AHS) (the ûtcomplainf'),M J
  Capitalhad ûtreceived no less than 15-20 inquiries from m erchants,em ployees,and otherpersons

  withrespecttothegponzijallegations...andhaslostsubstantialbusinessasaresult....''78The
  Com plaintf'
             urther stated thatas a resultofthese allegations,M J Capitalhad btlost protits from

  merchants/investorswhoweresteeredawayfrom doingbusinesswith gMJCapitalj....''79
         ln the Com plaint,M JCapitalm akesa num beroffalse orm aterially m isleading statem ents.

  Specifically,the Com plaintallegesthatM J Capital:

                a.     ûtisinthebusinessofprovidingLM CAS)tobusinesseslocatedinFloridaand
                       throughoutthe United States-'5'Fo

                b.     tthasrapidly developed a loyalfollow ing'-am ong its M CA custom ersi8l

                       has ttrelationships with several key funding partners (who provide
                       investmentmoniesthatarethen usedtoprovidethesubjectmerchantcash
                       advancesl'-,
                                  '8z
                d.      tidoesnotoperate a Ponzischem e'-.d3




  77 Com posite Ex. 245MJ CapitalFunding,LLC 3)    .Doe,No.0:21-cv-6084l-AHS (S.D.Fla.)
  Com plaint,D E 1 and A m ended Com plaint,DE 10.
  1îld at!15
  79Id at:46.
  80Id at!p.
  81Id at111.
  82gd
  831d.at!42.
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                            '

                                tûdoesnot...offer tguaranteed returns on investm ent.-'-'
                                                                                        D
                                                                                         S'
                                                                                          l

                            tùm aintainsa sm allnum berofinvestors'''
                                                                    7
                                                                     8sand

                            ùtenters into written contractualagreem ents w ith both its investors and the

                            m erchants receiving cash advances - the investors receive a satisfactory

                            return on their investm ent and the m erchants receive needed tinancing for
                            theiroperations.''Fb

           OnJuly 29,2021,Garciatiled inthelawsuitadeclaration underpenaltyofperjury.87 In
  theDeclaration,Garciarepeatsthestatementsdescribed inparagraphs(a)-(c)above.88 shegoes
  on to state that M J Capital :tfunds m illions of dollars in m erchant capital loans on a m onthly

  bRSI
     'S.33F9

           These statem ents in the Com plaint(and repeated in the Am ended Complaint) and the
  D eclaration arefalseand m aterially m isleading.go M aking M CA Sw asa trivialpal'
                                                                                    tofM JCapital's

  business,and investor ftmds w ere used for the m ostpartnotto fund M CA S but rather to m ake

  paymentstoearlierinvestors.glTherewerenotjustçtseveral-'orattsmallnumberofinvestors''
  thereweremorethan 2,150.92And MJCapitaldid guaranteethatifthe(non-existent)merchant
  defaulted,M J Capitalw ould repay the investors-principal.g3




  E)4)d.
  85Id at,41.
  86ld at543.
  87Ex* 27 G arcia D ecl.
  88ld*at!r3!8
  89ld atlt32.
  90 Ex 4 D 'A ntonio Decl. generallv.
  91u *atEx. A ,B.
  92ld at!12(a).
  93 See e.g., Ex.9liA pril 2021 ttM erchant Cash A dvance A greem ent'' and Ex. 10, June 2021
  ktMerchantCashAdvanceAgreement''at!7.
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         M J Capital's cover-up efforts w ere successful,and in the m onths afterthe appearance of

  the w ebsite aecusing M J Capitalofoperating a Ponzischem e,M J Capitalcontinued to raise ever-

  increasing am ountsofinvestorm oney.94

  lV .    M EM O R AN D UM O F LA W

         A.     Standard for O btaininz a Tem porarv Restraininz O rder

         Sedion 20(b)oftheSecuritiesAd,15 U.S.C.j77t,and Section 21(d)oftheExchange
  Act,15U.S.C.j78u(d),providethatinCommissionactionstheCourtshallgrantinjundiverelief
  upon aproper showing. SEC l?.Shiner,268 F.Supp.2d 1333, 1340(S.D.Fla.2003).Thisiû
                                                                                  proper
  showing''hasbeendescribedast:ajustitiablebasisforbelieving,derivedfrom reasonableinquiry
  or othereredible infonuation,thatsuch a state offads probably existed asreasonably w ould lead

  the SEC to believe thatthe defendantsw ere engaged in violations ofthe statutes involved.'' SEC

  v.Gen.lnt1LoanXc/uor/qInc,77QF.Supp.678,688(D.D.C.l99l).
         TheCommission isentitledto atelnporary restraining orderifitestablishes(1)aprima
  facie ease showing the Defendants have violated the securities laws,and (2) a reasonable
  likelihood they willrepeatthe wrong.Shiner,268 F.Supp. 2d at l340. The Com m ission appears

  t-not as an ordinary litigant,but as a statutory guardian charged w ith safeguarding the public

 interest in enforcing the securities law s.'' SE C T? Lauer, 03-80612-C 1V -M ARRA , 2008 W L
                                                     .




 4372896,*24 (S.D.Fla.Sept.24,2008),qff'
                                       d,478 Fed.Appx.550 (11th Cir.2012). The
 Commissionthereforefaeesalowerburdenthanaprivatelitigantwhenseekinganinjunction,and
 need notmeetthe requirementsforan injundion imposed by traditionalequityjurisprudence.
 HechtCo.v.Bowles,321U.S.321,331(1944),
                                      .SEC v.J.1rz'lKorthtfCo.,991F.Supp.1468,l472
 (S.D.Fla.1998).Unlikeprivatelitigants,theColzunissionneednotdemonstratein-eparablehan'
                                                                                      n


 94Ex. 4,D'
          AntonioDecl.at!J1(a).
                                                14
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  or the unavailability ofan adequate rem edy at law .

  Supp.at1473. Norisitrequired to show abalanceofequitiesin itsfavor. SEC )'
                                                                           .U.S.pt
                                                                                 ap.
                                                                                   s/
                                                                                    'tp/t

  TrustCorp.,07-22570-C1V-M ART1NEZ,2010W L 3894082,*22(S.D.Fla.Sept.30,2010)qffd
  subnom.;SEC )?
               .ULS.ptdp,5'
                          /t//?TrustColp.,444Fed.Appx.435(11thCir.2011).
         TheCommission'sevidenceinthiscasewan-antsentry oftherequestedinjunctiverelief
  on a11applicable grounds. The declarations,accountrecords,and other exhibits attached to this

  m otion dem onstrate thatD efendants are violating the anti-fraud and registration provisionsofthe

  federalsecuritieslaw s,and willcontinueto violate them iftheCourtdoesnotim m ediately restrain

  andenjointhem.
         B.      The SEC H as Established Prim a Facie V iolationsofthe SecuritiesLaw s

         The Com m ission hasm etitsburden ofestablishing a prima jàcie showing ofviolationsof
                                                                     .



  the antifraud and registration provisionsofthe securitieslaw sas alleged in the Com plaintand this

  m otion. A san initialm atter,the alleged violationsallrequire thatthe investm entin question be a

  -isecurity''andthatinterstatecommerce(orthemails)havebeen used.
                        The lnvestorA greem ents are Investm entC ontracts and areT herefore
                        SecuritiesU nder H owqv

         The investor agreem entsconstitute investm entcontractsand are therefore securitiesunder

  SEC v.W J Howey Co.,328 U.S.293,298-99 (1946). UndertheHowey test,an investment
  contractexistsifthereis:(a)aninvestmentofmoney;(b)in acommon enterprise;(c)based on
  the expectation of profits to be derived from the entrepreneurialor luanagerialefforts ofothers.



         The investor agreem ents satisfy a11 three elem ents of the H ovvy test. First, investors

  com m itted f'unds to participate in an investm ent opportunity. See SEC A?. Unique Financial

  Concepts,Inc,119 F.Supp.2d 1332,1337 (S.D.Fla.1998),qffd,196 F.3d 1195 (11th Cir.

                                                  15
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  1999) (ttA11 that is required is that the investor give up some tangible and definable
  consideration.''). Defendantsmarketed the investoragreements as an investmentopportunity
  generating varying m onthlyreturns,typically 1084,and raised between $70.9m illion and $128.8

  m illion from over2,150 investors.

         H owey's com m on enterprise prong m ay be satisfied by either vertical or horizontal

  com m onality. V erticalcom m onality exists where ttthe fortunes ofinvestors are interwoven w ith

  and dependent on the efforts and success of those seeking the investm ent or of third parties.''

  UniqueFinancial,196F.3dat1199-1200(internalquoteomitted).Horizontalcommonalityexists
  where each investor's fortune istied to the fortune ofotherinvestorsby the pooling ofinterestsor

  protits in the transaction.

         The Eleventh Circuit has held that ttbroad verticalcom m onality-'is sufficient to satisfy

  How ey-s com m on enterprise elem ent, tinding it m ore titlexible'' and less --stringent'' than

  horizontal com m onality. Unique Financial, 196 F.3d at 1200 n.4. Broad verticalcom m onality

  requires only a finding thatinvestors'fortunes are linked to the effol'
                                                                        ts ofthe prom oter or third

  parties.1d;seealsoSEC 3?.ETSPayphones,lllc.,408F.3d 727,732(11thCir.2005).
         H ere,broad verticalcom m onality exists for tw o independentreasons. First,the fortunes

  of investors are entirely dependenton the efforts of D efendants to identify sm all and m edium -

  sized businesses w ho can repay their m erchant cash advances, plus the interest prom ised to

  investors. Sce UniqueFfWlpcl
                             k/,196 F.3d at1199-1200(11th Cir.1999)(tinding commonality
  where defendant-s clientst-w ere notin a position to assum e Orm aintain any substalatialdegree of

  controlovertheirinvestment.r-).lnvestorsdonotvetorselectthebusinessestheyarepurportedly
  funding w ith m erchantcash advances;they are noteven told their identities. The investor's role

  is lim ited to sim ply investing m oney into the venture. Second, D efendants operate the M J



                                                  16
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  Com panies as a Ponzi schem e by using new investor contributions to pay prior investors their

  purported principal and m onthly interest. The very nature of the alleged Ponzi schem e m eans

  investors are dependent on D efendants to secure new investors to cover the guaranteed return

  payments.SeeHaysv.Adam,512 F.Supp.2d.1330,1337(N.D.Ga.2007)(':gT1heverynature
  ofthe Ponzischem e m eantthatitw as dependenton M BA attracting new erinvestorsto coverthe

  paym ents from O utdoor M edia to earlier investors.Thus,the defendants cannotdispute thatttthe

  fortunes of the billboard purchasers w ere interw oven w ith and dependent upon the efforts and

  success'of Outdoor M edia and M BA.'');see also ETS Pasphones,408 F.3d at 732 (tinding
  com m on enterprise w here 99% of investors leased back phones to a com pany operated by

  promoterandwerereliantonpromotertoattractnew investorstopayearlierones).
         Thethird H owey prong ism etbecauseinvestorsw ere1ed to expectprofitsfrom theinvestor

  agreem entsbased on the effortsofD efendants.SinceH owey,the 1aw hasbeen clarified thatprofits

  need notbe derived solely from the efforts ofothers.lnstead,the inquiry is ''w hetherthe efforts

  m adeby othersare theundeniably significantones,those essentialm anagerialeffortswhich affect

  the failure or success ofthe enterplise.-- Unique F/?ktz/kc/tz/, 196 F.3d at 1201. H ere,investors

  expected a return on their investm entbased on D efendants'efforts to identify,vet,and contract

  with businesses who w ould repay their principal w ith m onthly interest retunAs. Defendants

  m arketed the investor agreem ents as investm ents in w hich they,rather than the investors,would

  do everything forthe venture to succeed.

         The M J Com panies'operation asa Ponzischem e providesanotherbasis for satisfying this

  thirdprong (asitdoesthe second asdiscussed above). TheMJCompaniespaid investorstheir
  purported profits from new investors'funds. lfD efendants did notfind new investors,then the

  M J Com paniescould no longerpay investors their protits.
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                        The lnvestor A zrecm entsA lso are N otesthatC onstitute Securities

         The Suprem e Courthasheld thatevery note ispresum ed to be a security unless itbears a

  strong resemblanceto ajudiciallycreated listofnon-security notesorthenoteisofatypethat
  should be added to the list.95 Reves v. E1-
                                            11sta:Young,494U.S.56,65,67(1990). A ttnote'-has
  been defined as t'a certificate that evidences a prom ise to pay a specified sum of principaland

  interest to the payee at a specitied tim e....''Sanderson 3).Roethenlnund,682 F.Supp.205,206

  (S.D.N.Y.1988)(tinding thatinternationalcertiticatesofdepositarettnotes''underthesecurities
  laws).Thataninstnlmentisnotstyledasa-tnote''isnotdispositive.SeeFultonBank)'
                                                                             .M cKittrick
  &:Briggs Securities,lnc., 1990 W L 126179,at *4 (E.D.Pa.Aug.27, 1990) (--although the
  instrum ent in question is labeled a teertificate of participation,' it nonetheless bears a11 the

  eannarksofanoteasthattenm iscommonlyunderstood.'').SeealsoHolloway )'.Peat,M arvick,
  M itchell& Co.,879 F.2d 772,777 (10th Cir.1989) (finding thatpassbook savings credit
  certificates and thriftcertiticatesare ztnotes'-under the securities law s,vacated on other grounds,

  494U.S.1014 (1990),andrcq//
                            -3r-cl,900F.2d1485(10thCir.1990).
         The Suprem e Courthasidentitied fourfactorsto detennine whethera note bearsa t'fam ily

  resemblance-'tonotesthathavebeen detenrined notto besecurities: (1)themotivation ofthe
  partiesforenteringthetransaction;(2)theplanofdistributionoftheinstnlmentandwhetherthere
  iscommontradingforspeculationorinvestment;(3)thereasonableexpectationsofilwestors;and




  95The listofnotes that are notsecurities includes:notesdelivered in consum er tinancing;notes
  secured by a m ortgage on ahom e orby alien on a sm allbusiness;notesevidencing a t'character''
  loan to abank custom erorloansby com m ercialbanksforcurrentoperations'  ,and short-ten'
                                                                                         n notes
  secured by an assignlnentofaccountsreceivable orthatfonnalize an open-accountdebtincurred
  in the ordinary course ofbusiness.
                                                  18
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  (4) whether there are risk-reducing factors thatwould make application ofthe securities laws
  unnecessary. Rej,cs,494 U .S at66-67.

         A pplying these factors,the investor agreem ents, although not described as 'tnotes-' are

  indeed notes thatconstitute securities. A s to the tirstReves factor,the instrum entis likely to be

  security ifthe seller's pum ose isto raise m oney forthe generaluse of a business enterprise or to

  tinance substantialinvestm ents and the buyerisinterested prim arily in the protitthe instrum entis

  expected to generate. H ere,D efendants sold the investoragreem entsto raise m oney to be pooled

  and used to fund M J Capital'sand M J Taxes'm erchantcash advancesbusiness. ln tulm ,investors

  purchased the M CA 'S from M J Capitaland M J Taxes w ith the expectation of earning profits in

  the form ofinterestpaym ents.

         The second Reves faetorlooksto w hetherthe investor agreem ents were ''offered or sold to

  a broad segm ent of the public,'' and as such involved ûtcom m on trading.'' 1d. at 66. H ere,

  D efendantssold the investoragreem entsto m orethan 2,150 investorsresiding in num erousstates,

  and offered them to the generalpublic.

         The third Rej?
                      es factor exam ines the reasonable expectations of the investing

  public.1d. The Suprem e Courthas''consistently identified the fundam entalessenceofa ûsecurity'

  to be its character as an Sinvestm ent.-'' 1d.at 68-69. ln this case, there can be no doubt that

  investors view ed the investor agreem ents as securities. lnvestors expected to receive interest

  paym ents,plus the return oftheir principal,from m erchants using investor m oney to f'
                                                                                        und their

  businessactivities.

         The finalRej?esfactorasksw hethersom e factor,such asthe existence ofanotherregulatory

  schem e,reduces the risk of the instrum ent,thereby rendering application of the securities law s




                                                  19
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  unneeessary. H ere,no otherregulatory schem e exists thatw ould obviate the need to invoke the

  federalsecuritieslaw s.

         A ccordingly,al1oftheRej,cs factorsw eigh in favoroffinding thatthe investoragreem ents

  are noteS thatconstitute securities.g6

                 3.      DefendantsA re Usinz Interstate Com m erce

         The interstate com m erce requirem entis satisfied by M J Capital's and M J Taxes' sale of

  the investor agreem ents to individuals in several states and their use of the lntenAet to solicit

  investors. SE C )?.Spinosa,2014 W L 2938487,*4 (S.D.Fla.June 30,2014) (use ofinternet
  satisfiedinterstatecommercerequirement).
                 4.      Defendants Are Violating Section 17(a) of the Securities Act and
                         Section 10(b)and Rule10b-5 oftheExchanzeAct

         Section 17(a) of the Securities Actand Section 10(b) and Rule 10b-5(a)-(c) of the
  ExchangeActprohibitessentiallythesametypeofconduct. United StatesJ?.Nqpalin,441U.S.
  768,773n.4(1979),
                  .UniqueFinancial,119F.Supp.2datl339.Thelanguageoftheseprovisions
  is t:expansive''and ttcapture a w ide range ofconduct.'- Lorenzo v.SEC,139 S.Ct.1094,1101-02

  (2019).lnLorenzo,theSupremeCourtrecognized thatthereisû'considerableoverlapamongthe
  subsectionsof'Rule10b-5andSection 17(a),andthusthesameunderlyingconductmayestablish
  a violation ofm ore than one subsection.




  96Thereisanexemptionfrom Section5oftheSecuritiesActandSection l0(b)andRule10b-5of
  theExchangeAct(butnotSection 17 oftheSecuritiesAct)forcertain noteswith amaturityof
  lessthan ninem onths. This exem ption isunavailable to defendantsbecause,am ong otherreasons,
  the investor agreem ents are investm entratherthan com m ercialin character. See SEC ),
                                                                                        .1 Global
  Capital,LLC,No.18-cv-61991,2019 W L 1670799,*7-8 (S.D.Fla.Feb.8,2019)4SEC v.Slnart,
  No.2:09cv00224,2011W L2297659,*l3(D.UtahJune8,2011)(exemptionappliesonlyto-ihigh
  quality instrum ents issued to fund cun-ent operations and sold only to highly sophisticated
  investors'-)(citationandquotationomitted),qJ/'#678F.3d 850 (10th Cir.2012).
                                                 20
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         Section 17(a)oftheSecuritiesActmakesitunlawfulinthet-offerorsale-'ofsecuritiesto:
  (a)ttemployanydevice,scheme,orartiticetodefraudi''(b)t'obtainmoneyorpropel'tybymeans
  ofany untrue statementofamaterialfactorany gmateriallomission'
                                                               5''or(c)è-engage in any
  transaction,practice,orcourse ofbusinesswhich operatesorwould operateasa fraud ordeceit

  uponthepurchaser.'' 15U.S.C.j77q(a)(1)-(3).A showingofscienterisrequiredunderSection

   17(a)(1),butSections17(a)(2)and (a)(3)requireonly ashowing ofnegligence. Aaron )'
                                                                                   .SEC,
  446U.S.680,697(1980).
         Section 10(b)oftheExchangeActandRule 10b-5renderitunlawful,kûin connectionwith
  thepurchaseorsale''ofsecurities,to:(a)employ anydevice,scheme,orartiticeto defraud;(b)
  m akeanyuntnlestatem entoromission ofm atelialfact;or(c)engageinanyact,practice,orcourse
  ofbusinesswhichoperatesorwouldOperateasafraudordeceitonanyperson.15U.S.C.j78j(b);
  17 C.F.R.j240.10b-5. A showing ofscienterisrequired underSection 10(b)and Rule 10b-5
  thereunder. SEC v.Colporate Relations Group,No.6:99-cv-1222,2003 W L 25570113 at *7

  (M .D.Fla.M ar.28,2003).
         Unlikeplivatesecuritiesactions,theSEC neednotproverelianceorinjuryunderSection
   17(a),Section 10(b),orRule l0b-5.SEC ),
                                         '
                                         .Morgan Keegan tfrCo.,lllc.,678 F.3d 1233,1244
  (11thCir.2012).
                        a.     Defendants'M isrepresentations and O m issions

         D efendantstold investorsthattheirm oney w ould beused to fund M CA Sand,in exchange,

  they w ould receive m onthly interestpaym entsand the return oftheirprincipal. See Ex.5-7,9-10,

  M CA contracts'
                ,Ex. 13,Anjdich Decl.at !! 9-14. To make the investments appear safe,
  D efendants touted thatM J Capitalhad a itteam ofunderwriters-'to ensure its clients could repay




                                                21
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  the M CA Splusinterest. See Ex.14,M ay 12,2021 M J Capitalw ebsite capture atp.15. They also

  claimedthatMJCapitalheldliensonmerchantprojects.SccEx.13,AndjichDecl.at!15.
         lnvestor proceeds w ere notused as prom ised. O ur analysis ofthe M J Com panies'bank

  recordsfrom June l,2020 through April30,2021show that$70.8 million wasdeposited into the

  M J Companies' bank accounts (excluding transfers from Garcia's personal aecounts and
  intercompanytransfers).SeeD'Antonio Decl.at!11.Ofthatamount,atleast$51.1milliontor
  729$)ofthe depositscame from investors,with possibly another$16.1million tor239$)from
  them. 1d.at!! 12(a),(b). Butonly $115,725 (or0.2%)Ofthedepositsappearto come from

  possibleM CA recipients.fJ.at!! 12(a),(g).
         On the flip side,$62.1m illion waswithdrawn (excluding transfers to Garcia's personal

  accountsandintercompany transfers)from theMJCompanies'bank accountsduring thatsame
  timeperiod.1d.at!13.Ofthatamount,Defendantsusedatleast$20million(or321$),andpossibly
  another $9.3 million,to pay investorswhatappearto be interestand principalpaym ents,and at

  least$27.4million(or44%)topaywhatappeartobesalesagentcommission.1d.at!! 15(a),(b),
  (f). Only $588,561tOr 1% )Ofthewithdrawalsappearto bepaym entsto M CA recipients,with at
  mostpossiblyanother$2.3milliongivingDefendantsthebenefitofthedoubt.1d.at!! 15(g),(h).
         Based on the tlow of funds in the M J Com panies'bank accounts,itis apparentthatthe

  fundsused topayinvestorstheirprincipalandinterestwerederivedprim arilyfrom otherinvestors'

  deposits. For illustration,see id.at Ex.A ,B,excerpted below . lt also is obvious that the M J

  Companies'purportedM CA businessisreallyjustafrontforagrowingPonzischeme.




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           EXIHBIT A                                   M J A ccounts
                                                    D epositsby Category
                                                 June 1,2020 -April30,2021




             Foa'bleMCA R- yII- S.
                   CategmyD?
                     $115.725
             PosibleSalesAgo t /Rqs.
                    Ca*goryY
                     1791.* 4
                  Tu rm iCG.
                  Catem ryDs
                    $616.670
                  Casklhxsih.
                  Cakgogm
                    $942.:.
                          35
               SNIXA-T= Fi- ciqp
                    CategtxyD3
                   $1.041-041




        Souzt'e:WellsFargoandClhqsePrM uctions
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            EXIHBIT B                                   M JAccounts
                                                  W ithdrawalsby Categoll
                                                 June1.2020 -April30,2021




              Cas:Will- wals.
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                Calem ryW 9                                        ,.                             w st:
                  $120.480                                                      . '
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                  Categmyqq
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                   131-215                                   .     .                                                               ?.a,,..-,:t-.. z.k,
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                                                                                                                                                                      .:   SImrGTO Financing.
                                                                   -.....,%ns,.
                                                                              saro,g.roJv.;rzk.qïtëk          ;s
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                                                                                                                                                                    y.:)       CategoryW 3
             Otlerltece sefFte .                                                                                                                                                 $746.697
                   Ca+ yW7
                  $2-320.881                                                                                                                                               CreditCY Paymeats.
                                                                                                                                                                               CategoryW4
                                                                                                                                                                               $*7.388
              Pose leM CARecipienls.
                   C.
                    a
                    tsger.
                         jW6
                    $2* .th61




        Source:W ell:FargoandCk seProductiolzs

        N ot only did D efendants use investor funds to pem etuate the illusion of a successful

 business,but Defendants diverted a substantial portion of investor funds to pay sales agent

  comluissionsto thetuneof$27.4 m illion and to repay loansow ed by M JTaxesin the amountof

  $746,697. 1d.at!! 15(c),(9. Garcia also misappropliated investors fundsby withdrawing
  $120,480incash. 1d.at!!J15(i).
        A dditionally,D efendants'sham M CA businessrenderstheir statem entsaboutthe security

 ofthe M CAS false and m isleading.An M J Capitalrepresentativetold the UC thatthe com pany

 haslienson merehant'smojedsasseeurity ofl'
                                          epayment. SeeEx.l3,Andjieh Decl.at!15.
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  However,anationwidesearch inthepublicrecordsforUCC filings,liensandjudgmentsdidnot
  revealanyliensheldbyMJCapitalorMJTaxes.1d.at519.
         UnderJanusCapitalGroup,lnc.),,
                                      .FirstDcr/'
                                                lg
                                                 ,
                                                 l//l/cTradcrs,564 U.S.135 (2011),only
  the ûtmaker''ofamisstatementmaybedirectlyliableunderSection 10(b)and Rule 10b-5(b).97
  tû-f'he m aker'' is tùthe person or entity w ith ultim ate authority over the statem ent,including its

  contentand w hetherand how to com m unicate it.'' 564 U .S.135 at 142. M ore than one person or

  entity m ay have authority over a statem entand therefore m ay be considered the luakerofa false

  statem entorresponsible fora m aterialom ission.gh Here, M J Capitaland itsplincipal,G arcia,are

  the m akers of the false statem ents and om issions in M J C apital's investor agreem ents,on its

  w ebsite and socialm edia,and in written m aterials. M J Taxes and its principal,Garcia,are the

  m akersofthe false statem entsand om issionsin M J Taxes'investoragreem ents,on itsw ebsite and

  socialm edia,and written m atelials.

                         b.      The M isrepresentations and O m issionsW ere M aterial

         A false statem entorom ission m ustbe m aterialfor a defendantto be liable forit. The test

  form ateriality is kbwhether a reasonable m an w ould attach im portance to the factm isrepresented

  or oluitted in determ ining his course of action.-' SEC &'.M crchantCapital,LLC,483 F.3d 747,




  97Janusdoesnotapply to Section 17(a)ofthe SecuritiesActorRules 10b-5(a)or(c)ofthe
  ExchangeAct. SEC )7.BigAppleConsulting USA,lnc.,783F.3d 786,795-98(11th Cir.2015),
                                                                                   '
  SEC )?.Monterosso,756F.3d 1326,1334(1lth Cir.2014).
  98cj/y ofpontiac Gcn.Elnployees'Retirement&w.v.Lockheed Martin Colp.,875 F.Supp.2d
  359,374(S.D.N.Y.2012)(Januskthasnobearingonhow corporateofticerswhoworktogetherin
  thesameentitycanbeheldjointlyresponsibleonatheoryofprimaryliability.ltisnotinconsistent
  with Janusto presumethatmultiplepeoplein asingle corporation havethejointauthority''to
  k-make'-a misstatementl;see also ln re f'
                                          JczcrInc.Secs.Ll
                                                         'tl
                                                           k.,936 F.Supp.zd 252,268-69
  (S.D.N.Y.2013)(individualsliable for statementsreleased by corporation),js
                                                                           ,
                                                                           acated on otller
  grounds,819F.3d 642(2dCir.2016).

                                                   25
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  766 (11th Cir.2007)(citation omitted). ln otherwords,infonuation isluaterialifareasonable
  investorw ould consider itsignificantto m aking an investm entdecision. Basic ).
                                                                                 '
                                                                                 .Lejinson5485

  U.S.224,230(1988).
         iûM isrepresentations regarding the use ofinvestors'funds are m aterial.'- SE C )?.LottoN et

  Operating Corp.,2017W L 6949289,*13(S.D.Fla.Mar.3l,2017)(reportandrecommendation),
  adopted 2017 W L 6989148 (S.D.Fla.Apr.6,2017).
                                               ,SEC v.Slnart,678 17.3d.850,857 (10th Cir.
  20l2)(the factmoney wasnotbeing used asrepresented would be materialto a reasonable
  investor). False statements or omissions concerning a Ponzi scheme are material. SEC
  CreditBancorp,Ltd., 195 F.Supp.2d 475,492 (S.D.N.Y.2002).M isappropriationoffunds
  by the issuer'sprincipalare m aterial. United States.v.Locllm iller,521 Fed.A ppx.687,691-92

  (10th Cir.Apr.15,2013)(upholding conspiracy to commitsecuritiesfraud conviction because,
  am ong otherthings,D efendantm ade m aterialm isrepresentationsw hen he told investorshe would

  usem oney forlow-incom ehousing butinstead used itforpersonalgain)(cited in Lottonet,2017
  W L 6949289,*13). Thepaymentofcommissionstosalesagentsismaterialasamatteroflaw.
  SEC v.AllianceLeasing Colp.,2000W L 35612001at*8-9(S.D.Cal.2000),q#''#28Fed.Appx.
  648,652(9th Cir.2002)(tèr-l-jhe30% commissionswereiso obviously importantto an investor,
  thatreasonablemindscannotdifferon thequestion ofmateriality.r'')(quoting TSC llldus.lnc.)'
                                                                                           .
  Northway,lnc.,426U.S.438,450(1976)).
                                     ,seeLottonet,20l7W L 6949289,*14(--Anyreasonable
  investor w ould w ant to know that D efendants were not, as D efendants represented, spending

  investorfunds to develop the Com pany,butw ere instead using 35 percentofinvestors'm oney to

  paysalesagentsforsolicitingtheirinvestments.--).




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                       c.     D efendants'Schem e to D efraud

        D efendants perpetuated their schem e to defraud investors through their m aterial

  misstatementsand omissionsdiscussed above. See Lorenzo,139 S.Ct.at1101-02 (knowing
  disseminationofmisrepresentationswith an intentto deceiveviolatesRule 10b-5(a)and (c)and
  Section 17(a)(1)),
                   'seealsoAo /tplf/-v.SEC,933F.3d1248,1260(10thCir.2019)(applyingzorczyzö
  toSection 17(a)(3)becauseitttisvirtuallyidenticaltoRule10b-5(c)-').
         Their lnanipulation of the relevant bank accounts also allowed them to advanee their

  schem e. Garcia controlled theM JCom panies'bank accounts and,in doing so,used investorfunds

  to pay other investors so D efendants could keep the Ponzischem e going. See Ex.4,D 'A ntonio

  Decl.at!!4(a)-(c),Ex.A,B. D efendants further m isused investor funds to pay sales agent
  com m issions and repay loans owed by M J Taxes. 1d.at5!15(c),(9. Moreover,Garcia

  luisappropriatedinvestorfundsthroughcashwithdrawals.ld.at!!15(i);seealsos'
                                                                           ft.
                                                                             nltZal?ford,
  535U.S.813,821-22(2002)(misappropriationofclient'ssecuritiesforpersonalusestatesaclaim

  forschemetodefraud).
                       d.      Defendants Acted W ith Scienter

         Scienter is a state ofm ind elnbracing intentto deceive,m anipulate or defraud. E1-11st &

  E1-11st)?.HoclqRlder,425 U.S.185,193 (1976). The Commission may establislascienterfor
  violationsofSection 17(a)(1)ofthe SecuritiesActand Rule 10b-5 ofthe Exchange Actby --a
  showing ofknowing misconductorsevererecklessness.'-M onterosso,756 F.3d at1335(quoting
  SEC v.CarribaAir,lnc.,681F.2d 1318,1324(11thCir.1982)).Asnotedabove,Section 17(a)(2)

  and(3)oftheSecuritiesActrequireashowingofnegligence.
         G arcia knew the representations to investorsw ere false because she failed to use investor

  fundsto financem erchantcash advances to sm allbusinessesasprom ised to investors. lnstead,
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  through her control of the M J Com panies'bank accounts,she steered investor funds to pay

  principaland interestpaym ents to otherinvestors,m ade cash w ithdraw als on investor funds,and

  m isspentinvestor funds on sales agentcom m issions and M J Taxes loan repaym ents. See Ex.4,

  D'AntonioDecl.at!!4(a)-(c),15(c),(9,(i), Ex.A,B.Garcia'sscientercanbeimputedtothe
  M JCompanies. SEC )?.ManorNursing Ccnters,lnc.,458F.2d 1082,109613.16(2dCir.1972)*
                                                                                   ,
  InrcSunbealn Sec.Litig.,89F.Supp.2d 1326,1340(S.D.Fla.1999)(findingthatthescienterof

  corporateofficersisproperlyimputedtothecorporation).
                 4.        D efendants are Violatinz Section 5 ofthe SecuritiesA ct

         Sections5(a)and Section 5(c)ofthe SecuritiesActrequirethatevery offerand sale of
  securities m ust be either registered or validly exem pted from registration. To establish a prilna

  fézcl'c case for a Section 5 violation,the Com mission m ustprove thatthe defendant,directly or

  indirectly,(a)offeredorsold asecurity;(b)usinginterstatecommerce;while(c)noregistration
  statem entwas filed orin effectasto thetransaction. SEC J'.Calj,o,378 F.3d 1211,1214 (11th
  Cir.2004). TheCommission isnotrequired toprovescienter. 1d. Oncethe Commission has
  established a prim a fàcie case,the burden ofproof shifts to the defendantto show thatan
                       .



  exem ption orsafe harborfrom registration isavailable forthe offer or sale ofthe security. SEC l7.



         D efendants are violating this provision because the M J Com panies offering is not

  registered and no exem ption from registration is in effect.Sec Exhibit ii25,''SEC attestation for

  M J Capital,and Exhibitid26,''SEC attestation forM J Taxes. The exem ptions from registration

  pursuantto Section 4(a)(2)oftheSecuritiesActandRules504,505,and 506(b)ofRegulationD
  thereunder w ere unavailable to the M J Com panies for the sale oftheir securities because ofthe

  general solicitation by D efendants through their w ebsite and socialm edia platfonzls w here they

  advertised their M CA business and investors- ability to m ake m oney through their investm ents
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  with theMJCompanies. SeeEx.13,Andjich Decl.at!!9-14. Rule 504 wasalso unavailable
  becausemorethan $5m illion ofseculitieswere sold in a lz-month period intheoffering.SeeEx.

  4,D'AntonioDecl.at!(12(a).
         Theintrastateofferingexemptionsof3(a)(11),Rule147,andRule147A arelikewisenot
  available because D efendants sold the seeurities in severalstates. See Ex. 2,Gareia.Deel.at53.

         Furthenuore,theexemption underRule506(c)isunavailablebecausethereisnoindication
  thatD efendants took reasonable steps to verify that investors w ere accredited. This exem ption

  from registrationrequiresboththatttallpurchasersofsecuritiessold gpursuanttothisexemptionl
    are aeeredited investors''and,separately,thatissuers t%take reasonable steps to verify thatthe
  ...




 purchasersofthe seculitiesare accredited investors.'' Rule 506(c)ofRegulation D,17 C.F.R.j
  230.506(c).Asaresult,and astheCom mission explicitly indicatedin itsadoption ofRule506(c),
 the exem ption isnotsatisfied ifreasonable stepsto verify arenottaken,even ifallinvestorshappen

  to be accredited. See Elinlinating //?c Prohibition Against General Solicitation J/7J General

 Advertising in Rule 506 and Rule 144A,Rel.No.33-9415,at26 and n.101(Jul.10,2013)(adopting

 release)(explainingthatthetworequirementsareseparateandindependentandthattreatingthem
 as such willavoid dim inishing the incentive for issuers to undertake the reasonable veritication

 stepsenvisionedbythestatute).
         No otherexem ption from registration w asavailable forthe M J Com paniesoffering.

         C.     D isaoruem entis an Appropriate Rem edv AzainstD efendants

        Disgorgem entiswarrantedbecauseDefendantsunlawfullyreceivedbetween$70.9m illion

 and $128.8m illion from investorsaspartoftheirongoing Ponzischem e. See Ex.4,D'Antonio

 Decl.at!!12(a),51(a).Disgorgementisdesigned to depriveawrongdoerofunjustenrichment,
 and thereby reflectthe kbfoundational''principle ofequity thata wrongdoerk:should notprotitby



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  hisownwrong.'-fiu1?.SEC,140S.Ct.1936 1941,1943(2020).A courtmayorderdisgorgement
  ûûthatdoesnotexceed a w rongdoer'snetprotits and isaw arded forvictim s.''140 S.Ct.at 1940.

         kilteasonable approximationlsjofthedefendantgs-junlawfully acquired assets...shiftgj
  gthe burdenjto the defendantsto demonstrate the SEC'Sestimate isnotreasonable.'' SEC r.
  Monterosso,756F.3d l326,1337(11thCir.2014),
                                            .accordSEC )?.Levinz849F.3d995,l006(11th
  Cir.2017). The Commission need nottrace a defendant-sill-gotten gainsto assets cun-ently
  possessed. SeeFTC l7.Leshin,719 F.3d 1227,1234 (llth Cir.2013)(:-gA1disgorgementorder
  establishesa personalliability,w hich the defendantm ustsatisfy regardlessw hetherhe retainsthe

  proceedsofhiswrongdoing.-')(citation and quotation omittedl;SEC J?.Laucr,445 F.Supp.2d
  1362,1369(S.D.Fla.2006)(bûgDjisgorgementisan equitableobligation toretunnasum equalto
  the amountwrongfully obtained,ratherthan a requirementto replevy a specitic asset....--)
  (citationandquotationomitted),qffd,240F.App'x 355(11thCir.2007).
         D.     A TotalA sset Freeze isA ppropriate

         The Courtm ay orderan assetfreeze to ensure thata disgorgem entaw ard can be satisfied

  and to preventf'
                 urtherdissipation ofinvestorfunds. SE C l?.E TS Pavphones,//?c.,408 F.3d 727,

  734 (11th Cir.2005),
                     .accord CFTC J?..
                                     J-c)'
                                         y,541F.3d 1102,11l4 (11th Cir.2008). --T1Ae SEC'S
  burden forshowing the amountofassetssubjectto disgorgement(and,therefore available for
  freeze) is light: a reasonable approxiluation of a defendant-s ill-gotten gains is required.
  Exactitude isnot....'' ETS Payphones,408 F.3d at735 (citation,quotation,and alteration
  omittedl;accord FTC )'
                       .1AB Marketing Associates,LP.,746 F.3d 1228,1234 (1lth Cir.2014).
  The Com m ission'sburden to dem onstratethepotentialfordissipation offundsiseven lighter. See

  FTC )?.1AB MarketingAssociates,LP,972 F.Supp.2d 1307,1313n.3 (S.D.Fla.2013)(''-
                                                                                fhere
  does not need to be evidence that assets w ill likely be dissipated in order to im pose an asset

  freeze.'')(citingETSPaypllones,408F.3d at734,andSEC J?.Lauer,445F.Supp.2d 1362,1367,
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